 Case: 2:02-cr-00035-JLG-EPD Doc #: 82 Filed: 07/26/05 Page: 1 of 2 PAGEID #: 191




                       IN THE UNITED STATES DISTRICT COURT
                         FOR THE SOUTHERN DISTRICT OF OHIO
                                  EASTERN DIVISION

DARRIN WALKER,

               Petitioner,

       v.                                             Case No. 2:05-cv-449
                                                      Crim. No. 2:02-cr-035
                                                      JUDGE GRAHAM
UNITED STATES OF AMERICA,                             Magistrate Judge ABEL

               Respondent.




                                     OPINION AND ORDER

       On July 1, 2005, the Magistrate Judge issued a Report and Recommendation recommending

that petitioner’s motion to vacate, set aide, or correct his sentence pursuant to 28 U.S.C. §2255 be

dismissed. On July 20, 2005, petitioner filed objections to the Report and Recommendation.

Petitioner objects to all of the Magistrate Judge’s conclusions and recommendations.

       The July 1, 2005 Report and Recommendation addressed three issues:

       (1) Whether petitioner’s Sixth Amendment right to confrontation was violated

       because the United States willfully caused Perry Jemison to be unavailable for trial

       and Agent Carroll testified to statements Jemison made against petitioner;

       (2) Whether trial counsel was ineffective when his cross-examination of Agent

       Carroll elicited damaging evidence against petitioner; and

       (3) Whether trial counsel was ineffective for failing to conduct discovery or hire an

       investigator to interview Jemison prior to trial.

       Pursuant to 28 U.S.C. 636(b)(1), this Court has conducted a de novo review of those portions
 Case: 2:02-cr-00035-JLG-EPD Doc #: 82 Filed: 07/26/05 Page: 2 of 2 PAGEID #: 192




of the Report and Recommendation objected to by petitioner. As the Magistrate Judge found,

petitioner offered no evidence that the Government caused Jemison to be absent from trial. Further,

Agent Carroll did not offer any statements of Jemison which would be considered testimonial.

Petitioner has also failed to demonstrate that his attorney’s examination of Agent Carroll was

constitutionally deficient or that his attorney failed to conduct an adequate pretrial investigation and

failed to present exculpatory evidence at trial. For the reasons discussed at length in the Report and

Recommendation, petitioner’s objections are OVERRULED.

       The Report and Recommendation is hereby ADOPTED AND AFFIRMED. This case is

DISMISSED.

                                                       s/James L. Graham
                                                        JAMES L. GRAHAM
                                                        United States District Judge

DATE July 21, 2005
